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                        UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
                                      
Cool Gear International, LLC,        )
                                     )
      Plaintiff,                     )
                                     )
      vs.                            )  CIVIL ACTION NO. 13cv12020‐IT
                                     )
OLD NAVY, LLC,                       )
                                     )
      Defendant.                     )

                        SETTLEMENT ORDER OF DISMISSAL
Talwani,  D. J.



       The court having been advised on August 5, 2014, that the above‐entitled action

has been settled;

       IT IS ORDERED that this action is hereby dismissed, without costs and without

prejudice to the right of any party, to reopen the action within thirty (30) days if

settlement is not consummated.



                                                  By the Court,

Dated: August 5, 2014                             /s/Gail A. Marchione,
                                                  Deputy Clerk
